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                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 Cassidy White, individually and for others
 similarly situated,

      Plaintiff,
                                                 No. 23-cv-05464
 v.
                                                 Judge Lindsay C. Jenkins
 APFS LLC d/b/a Addison Professional
 Financial Search,

      Defendant.

                          MEMORANDUM OPINION AND ORDER

         Plaintiff Cassidy White brings claims for overtime pay under both the Fair

Labor Standards Act (“FLSA”) and the Illinois Minimum Wage Law (“IMWL”). She

alleges that she was improperly classified as an exempt administrative employee by

her employer, APFS LLC (“Addison”), and therefore not paid any overtime. Before

the Court is Addison’s motion for summary judgment. [Dkt. 46.] For the reasons that

follow, the Court denies Defendant’s motion.

I.       Response to Rule 56.1 Statement & Statement of Additional Facts

         “On summary judgment, the Court limits its analysis of the facts to the

evidence that is presented in the parties’ Local Rule 56.1 statements.” Kirsch v.

Brightstar Corp., 78 F. Supp. 3d 676, 697 (N.D. Ill. 2015). The statements serve a

valuable purpose: they help the Court in “organizing the evidence and identifying

disputed facts.” Fed. Trade Comm’n v. Bay Area Bus. Council, Inc., 423 F.3d 627, 633

(7th Cir. 2005). “To dispute an asserted fact, a party must cite specific evidentiary

material that controverts the fact and must concisely explain how the cited material
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controverts the asserted fact. Asserted facts may be deemed admitted if not

controverted with specific citations to evidentiary material.” L.R. 56.1(e)(3).

      The Seventh Circuit “has repeatedly recognized that district courts may

require exact compliance with their local rules,” including the “local rules governing

summary judgment.” Allen-Noll v. Madison Area Tech. Coll., 969 F.3d 343, 349 (7th

Cir. 2020) (collecting cases). Consistent with the purpose of Local Rule 56.1, however,

the Court has “broad discretion” to relax or enforce strictly local rules governing

summary judgment practice. Edgewood Manor Apt. Homes, LLC v. RSUI Indem. Co.,

733 F.3d 761, 770 (7th Cir. 2013) (citing Modrowski v. Pigatto, 712 F.3d 1168, 1169

(7th Cir. 2013)); see also Cracco v. Vitran Exp., Inc., 559 F.3d 625, 632 (7th Cir. 2009).

      White’s responses to Addison’s statement of facts contravene Rule 56.1 in

several ways. Numerous times, after admitting Addison’s factual statement, White

cites additional material, ostensibly to offer color and context in response to Addison’s

statement. [See e.g., dkt. 61 at ¶¶8–10, 13–17, 20, 28, 35, 41–42, 47–48.] In response

to the moving party’s submission, the non-movant may only admit, dispute, or admit

in part and dispute in part the factual content of each paragraph. L.R. 56.1(e)(2). The

rule does not contemplate the inclusion of additional facts where the party admits the

asserted fact. See L.R. 56.1(e)(2) (responses “may not set forth any new facts”). If the

non-movant wishes for the Court to consider any additional facts, she must file, as a

separate document, a statement of additional facts supported by citations to the

record. L.R. 56.1(b)(3). Consequently, the Court does not consider any of White’s

additional facts that are presented in this way.



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        In other places, see id. at ¶¶7, 12, 44, White admits Addison’s statement of fact

in part but does not clearly explain which portion (if any) is denied, nor does she

“concisely explain how the cited material controverts the asserted fact.” L.R. 56.1

(e)(2)–(3). Where the portion disputed is clear, and White supports her contrary

assertion with evidence, the Court considers it. Otherwise, it is disregarded.

        Problems continue with White’s statement of additional facts. [Dkt. 64.]

Addison correctly notes the local rules limit the opposing party to 40 concise

numbered paragraphs. L.R. 56.1(b)(3), (d)(1), (d)(5). While White’s statement of

additional facts contains only 35 numbed paragraphs, she improperly padded many

paragraphs in her statement of additional facts with multiple facts containing

lengthy narratives in violation of L.R. 56.1(d)(1). [See generally dkt. 81 (Opposition to

White’s Statement of Additional Facts).] Some assertions are not facts at all, but

instead offer argument or legal conclusions. [See e.g., id. at ¶¶2–3, 35.] Many of the

numbered paragraphs contain facts that are not material. [See e.g., id. at ¶¶1–3, 5,

29, 32.] Others contain assertions that are not additional facts but are facts already

included in Addison’s filing. [See e.g., id. at ¶¶4– 6, 9–10, 19, 23, 33.]

        The citations White offers in her statement of additional facts frequently fail

to support her rendition of the evidence. [See e.g., id. at ¶¶6– 8, 11–16, 20–21, 23–24,

26, 28, 30–31, 33, 35.] 1 In many of these cases, were it not for White’s heavy gloss on



1       White’s statement of facts describe what “Addison Recruiters” do generally,
sometimes extrapolating from White’s testimony about her experience. [See e.g., id. at ¶¶10,
17, 20, 30.] While this case is a certified collective action under the FLSA [Dkt. 67], Addison’s
summary judgment motion concerns White’s individual claims. Therefore, factual allegations
concerning recruiters generally are not relevant.
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the cited material, the evidence itself would otherwise be material and undisputed.

[See e.g., id.] By and large the Court follows Local Rule 56.1(d)(1) and disregards

White’s factual statements where unsupported by her citation. However, where

Addison’s response admits a portion of White’s asserted fact and the fact is material

to the dispute, the Court considers that portion only in ruling on Addison’s summary

judgment motion.

II.   White’s Declaration

      In support of her opposition to Addison’s summary judgment motion, White

attaches and relies upon her declaration. [Dkt. 61-2.] Addison protests that the

contents of her declaration contradict her prior deposition testimony and therefore

should be disregarded. [Dkt. 82 at 3.]

      A court may disregard an affidavit or declaration offered by the non-moving

party that contradicts prior deposition testimony. Craig v. Wrought Washer Mfg., Inc.,

108 F.4th 537, 543 (7th Cir. 2024); Cocroft v. HSBC Bank USA, N.A., 796 F.3d 680,

687 (7th Cir. 2015) (“[A] party cannot ‘manufacture’ a dispute by offering its own

(inexplicably) contradictory testimony.”)

      If a deposition and later-filed declaration conflict, courts disregard the

declaration “unless it is demonstrable that the statement in the deposition was

mistaken, perhaps because the question was phrased in a confusing manner or

because a lapse of memory is in the circumstances a plausible explanation for the

discrepancy.” Velez v. City of Chicago, 442 F.3d 1043, 1049 (7th Cir. 2006) (quoting

Amadio v. Ford Motor Co., 238 F.3d 919, 926 (7th Cir. 2001) (excluding statements

in affidavit that conflicted with prior deposition testimony where there was no
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explanation for the conflict)). In absence of a plausible explanation, courts disregard

the conflicting affidavit, reasoning that it is “so lacking in credibility as to be entitled

to zero weight in summary judgment proceedings.” Donaldson v. Johnson & Johnson,

37 F.4th 400, 406 (7th Cir. 2022) (quoting Russell v. Acme-Evans Co., 51 F.3d 64, 67–

68 (7th Cir. 1995)).

       Still, the Seventh Circuit cautions against wholesale rejection of a declaration

or even portions of a declaration unless the “party previously gave ‘clear answers’” in

their deposition which “‘negate the existence of any genuine issue of material fact.’”

Johnson v. Statewide Investigative Servs., Inc., 2023 WL 8643636, at *2 (7th Cir. Dec.

14, 2023). Put another way, “[a] declaration is not a sham where it is an ‘amplification

rather than a contradiction.’” Id. (quoting Cook v. O’Neill, 803 F.3d 296, 298 (7th Cir.

2015); Simmons v. Chi. Bd. of Educ., 289 F.3d 488, 492 (7th Cir. 2002) (“[A] party

may attempt to clarify or augment (but not contradict) prior deposition testimony

through affidavits.”)

       Portions of White’s declaration conflict with her deposition testimony. She

offers nothing to suggest that any conflict could be excused, and the Court sees no

reason to excuse the conflicts. For clarity, the Court identifies and disregards the

below portions of White’s affidavit:

               Declaration                         Conflicting Deposition Testimony

 “[O]ur [Addison] manager would …                Q: “And you mentioned earlier that … just
 direct us to the candidates in Bullhorn         about everyday you were given job orders
 that fit the descriptions for our open          to fill, right?”
 positions.” [Dkt. 61-2 at ¶6.]                  A: “Yes.”
                                                 Q: “And then you had to use judgment to
                                                 determine which of the candidates in your

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                                                pipeline had the best skills and experience
                                                for this particular job order, is that right?”
                                                A: “Yes.”
                                                Q: “And once you made that
                                                determination, would you then contact
                                                candidates who you thought would be
                                                good fits for the role?”
                                                A: “Yes.” [Dkt. 47-1 at 23 (White
                                                Deposition 82:1–11).]
“When I say that I negotiated pay with          Q: “Would you ever have to say to a
candidates, what that means is that             candidate, I don’t think I can get you
when I connected with a candidate, I            $22.00 an hour but I think the client will
would ask what level of pay they were           pay $20?”
looking for and find out the level of pay       A: “Yes.”
they would accept. Sometimes I would            Q: “[W]ould you sometimes have to use
ask if they’d be willing to accept a            your judgment to figure out what was the
salary amount below their stated                lowest amount that the candidate would
expectations.” [Id. at ¶8.]                     be willing to take in order to work this
                                                role?”
                                                A: “I particularly do that in the interview
                                                process.”
                                                Q: “You try to figure out where they’re
                                                bottomed out in terms of pay rate?”
                                                A: “Yes. But if it was … a contract-to-hire
                                                position and there was an opportunity to
                                                hire but the contract pay was 17 and they
                                                are looking for 18, I would tell them if you
                                                do well in this role you have the
                                                opportunity to be hired on full-time and
                                                this is where your salary would be and for
                                                the most part this was a negotiating
                                                tactic.”
                                                Q: “So sometimes you would try to
                                                persuade them to accept a pay rate that
                                                was below their expectations based on the
                                                opportunity in the role?”
                                                A: “Yes.” [Id. at 25–26 (93:15–94:90.]
“I wasn’t … permitted to search                 Q: “I will give you another piece of this
elsewhere.” [Id. at ¶9.]                        evaluation where Lauren says (as read) I
                                                marked needs improvement because this
                                                year will be about Cassidy being able to
                                                open her network outside of Bullhorn …
                                                [D]o you understand what Lauren
                                                means …?”

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                                               A: Yes. Because they – at this point
                                               candidates were slimmer and slimmer
                                               during Covid, so they wanted to expand
                                               the job boards but they didn’t know how to
                                               go about it because they had us using
                                               bullhorn [a recruiting software program]
                                               for so long.” [Id. at 30 (111:13–23).]
“If a candidate’s qualifications match         Q: “And you mentioned earlier that … just
the client’s requirements, then that           about everyday you were given job orders
candidate might be a good fit. That was        to fill, right?”
the comparison I performed. It was an          A: “Yes.”
objective comparison, not so much a            Q: “And then you had to use judgment to
subjective comparison where I used my          determine which of the candidates in your
own discretion.” [Id. at ¶10.]                 pipeline had the best skills and experience
                                               for this particular job order, is that right?”
                                               A: “Yes.”
“This matching process didn’t require          Q: “And once you made that
any specialized skills or really any           determination, would you then contact
skills other than basic reading. [Id. at       candidates who you thought would be
¶11.]                                          good fits for the role?”
                                               A: “Yes.” [Dkt. 47-1 at 23 (82:1–11).]
“I had to … put their resume on                Q: “You said that you would edit
Addison letterhead.” [Id. at ¶12.]             someone’s resume, can you explain how
                                               you would edit the resume?”
                                               A: “I would make sure it was created
                                               correctly. They were using the same
                                               [tense] at the beginning of every word. I
                                               would make sure if there’s kind of stuff
                                               fluffed in there. I would make sure that
                                               come down to the specifics of what their
                                               job actually was that they were doing.”
                                               (Id. at 22 (80:17–23).]
“When I submitted candidates to a              Q: “Did you have any type of template
BDM, I … had to write up a                     that you used to draft submissions?”
summary … using Addison’s template             A: “I did not have a template...” (Id. at 28
for submission. [Id. at ¶13.]                  (104:10–12).]

“Basically, my prep consisted of               Q: “[W]ould you give the candidate advice
communicating to the candidate                 on what would be good questions to ask or
whatever the BDM wanted us to convey           good questions not to ask?”
to the candidate.” [Id. at ¶14.]               A: I would ask them if they already had
                                               questions prepared. I would ask them to
                                               read them to me. I would say, you know,
                                               make sure you ask about the

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                                               environment, make sure you ask about
                                               the person that was filling the role before
                                               you, what qualities they had that they
                                               liked, what they didn’t like, and seeing if
                                               it was a good fit on both ends just like
                                               every other job.”
                                               Q: “So again, you’re using the specifics of
                                               the job order and the specifics of the
                                               interviewer to create an effective prep for
                                               your candidate, right?”
                                               A: “Yes.” [Id. at 25 (92:12–25).]
“Addison also had interview scripts for        Q: “[W]as it like a checklist of information
recruiters, highlighting the questions         that they were asking you to obtain from
we had to ask …” [Id. at ¶19.]                 the interviews?”
                                               A: “Yes.”
                                               …
                                               Q: “They didn’t give you any written out
                                               interview questions, correct?”
                                               A: “Like the piece of paper and said you
                                               need to ask X, Y, and Z?”
                                               Q: “Correct.”
                                               A: “They had recommendations and they
                                               had some questions that they wanted us
                                               to ask but it wasn’t ever like take this
                                               piece of paper … and ask them verbatim
                                               these questions.” [Id. at 29 (108:7–24).]
“Recruiters at Addison are subject to          Q: “And you mentioned earlier that … just
stringent oversight at all times and for       about everyday you were given job orders
all aspects of our jobs                        to fill, right?”
[including] … contacting the candidates        A: “Yes.”
our managers told us to.” [Id. at ¶20.]        Q: “And then you had to use judgment to
                                               determine which of the candidates in your
                                               pipeline had the best skills and experience
                                               for this particular job order, is that right?”
                                               A: “Yes.”
                                               Q: “And once you made that
                                               determination, would you then contact
                                               candidates who you thought would be
                                               good fits for the role?”
                                               A: “Yes.” [Dkt. 47-1 at 23 (82:1–11).]




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      These portions of White’s affidavit must be disregarded either because they

directly conflict with her prior deposition testimony or because they substantively

downplay the scope of her role as a recruiter as described in her deposition testimony.

See Drake v. Aerotek, Inc., 2016 WL 80672, at *1 (W.D. Wis. Jan. 7, 2016)

(disregarding conflicting portions of declaration where “[r]eading both documents

leaves the definite impression that plaintiff was trying to use his declaration to

undermine the testimony he had given at his deposition.”)

      The Seventh Circuit’s admonition not to disregard statements in declarations

that are “amplification[s] rather than contradiction[s]” does not support the contrary

conclusion. Johnson, 2023 WL 8643636, at *2 (quoting Cook, 803 F.3d at 298)). In

Johnson the district court improperly disregarded plaintiff’s statement in his

declaration that he offered to work part-time, believing it conflicted with his

deposition testimony that when he was fired “he did not ask to work part-time to keep

his job.” Id. The Seventh Circuit explained that plaintiff’s “deposition testimony that

he did not ask [his boss] to work part-time when [his boss] fired him over the phone

does not foreclose the possibility that he asked for that change at another time.” Id.

In this way, his declaration amplified his original testimony—while he did not ask

for an alternative working arrangement at the time he was fired, he asked for one

prior to his termination. Id.

      The issues with White’s declaration are different. She’s not introducing new

facts like Johnson. Instead, she summarizes and describes her duties in a way that

downplays any use of judgment, discretion, or skill that she testified to using during



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her deposition testimony—walking back her prior testimony, not enhancing it. For

example, at paragraph 12 of her declaration White summarizes the tasks she

performed in advance of submitting a candidate to a job order. [Dkt 61-2 at ¶12.]

While the steps she described are consistent with her deposition testimony, her

declaration omits other tasks she performed, for example, with respect to preparing

a candidate’s resume, in a way that downplays her exercise of judgment and

discretion. While it is not incorrect that White put candidates’ resumes on Addison

letterhead [see dkt. 47-1 at 19 (69:16)], White’s declaration improperly suggests that

that was the only task she performed when editing resumes.

       Another example of such a conflict is paragraph 8 of her declaration, where she

attempts to sanitize her prior testimony concerning pay negotiations. [Dkt. 61-2 at

¶8.] The steps and tasks she relays in her declaration are consistent with her

deposition testimony, but do not reflect the skills she testified to using. Most

importantly, at her deposition she testified to using judgment in negotiating pay with

candidates and a “negotiating tactic.” The declaration must be disregarded to this

extent.

       With these issues resolved, the Court recounts the facts.

III.   Background

       Unless noted, all facts recounted herein are undisputed either due to the

parties’ agreement or their failure to cite contrary evidence. The Court “present[s]

the facts ... in the light most favorable” to White, the nonmovant. Emad v. Dodge Cty.,

71 F.4th 649, 650 (7th Cir. 2023). The Court only relays facts that are material. That



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is, “facts that might affect the outcome of the suit.” Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 248 (1986).

      Addison is a company that offers staffing and recruiting services to clients in

industry sectors such as information technology, finance and accounting, non-clinical

healthcare, human resources, administrative, and digital marketing. [Dkt. 61

(“Response to Defendant’s Statement of Undisputed Material Facts”) at ¶1.] Addison

employs recruiting personnel to provide recruiting services to its clients. [Id. at ¶2.]

It is organized into “staffing verticals” which correspond to the professions of the

employees Addison recruits. [Id. at ¶5.] Recruiters’ primary objective is to place

candidates in positions for Addison clients. [Dkt. 81 (Plaintiff’s Statement of

Additional Material Facts) at ¶18.]

      Cassidy White was employed as a recruiter at Addison from November 2019

until August 2021. [Dkt. 61 at ¶3.] She was in the Finance and Accounting Contract

(“FAC”) vertical in Addison’s Chicago office. [Id. at ¶6.] This vertical handles the

placement of finance and accounting professionals in contract roles. [Id. at ¶7.]

      In that role, White’s manager assigned her specific job orders to fill. [Id. at ¶8.]

White was not allowed to select assignments to work on. [Dkt. 81 at ¶24.] Business

Development Managers (“BDMs”) within the FAC vertical generated job orders which

corresponded to open job positions with Addison’s client companies. [Dkt. 61 at ¶9.]

It was White’s responsibility to find candidates with the requisite skills to fill the job

orders assigned to her. [Id. at ¶10.]




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       During her tenure at Addison, White was paid a salary of $42,000 per year plus

any earned commissions and bonuses. [Id. at ¶11.] Commissions were based on her

“spread” which is the difference between the bill rate and the pay rate of candidates

she placed to fill a job order. [Id. at ¶12.] White could earn higher commissions by

maximizing her spread, that is placing a candidate in a contract role at a lower pay

so that the difference between the candidate’s bill rate and the pay rate was greater.

[Id. at ¶13.]

       When White began working for Addison, she had an initial training period that

lasted approximately one-and-a-half months; it consisted of both online training

modules and in-person training in Addison’s Chicago office. [Id. at ¶14.] When asked

how she learned to recruit, White testified, “you do something for so long you just

kind of get the experience.” [Id. at ¶15.] She added: “[o]nce you learn the Addison way

of how to recruit that’s the way to go about it.” [Dkt. 81 at ¶9.]

       All Addison Recruiters perform a common set of core functions. [Id.] White’s

duties included (1) cold calling candidates; (2) conducting interviews of candidates;

(3) prepping and informing candidates of the open job positions and related

expectations; (4) ascertaining candidates’ expectations with respect to pay, benefits,

etc.; (5) editing candidate resumes; (6) identifying open job orders that candidates

would most likely be interested in based on their qualifications; (7) informing

candidates of job orders they may be interested in; (8) submitting candidates to job

orders; (9) prepping candidates for job interview with the client companies; (10)

negotiating candidates’ offers from the client companies; (11) checking in with the



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candidates and the client companies once the candidates commence their positions at

the client companies; and (12) addressing conflicts between the clients and candidates

during the candidates’ employment. [Dkt. 61 at ¶16.]

      Addison provided White with email templates for her communications with

candidates; it had templates for every type of communication between a recruiter and

a candidate and wanted recruiters to use them, though the parties dispute the extent

to which White customized the templates. [Dkt. 81 at ¶14.] Addison also had general

scripts for recruiters to use when leaving a voicemail or starting a conversation with

a candidate over the phone, but again the parties dispute the extent to which White

customized those scripts. [Id. at ¶16.]

      The job orders White’s manager assigned her offered direction on how to recruit

for the job by detailing position requirements including education, years of

experience, and skills in using certain types of software. [Dkt. 61 at ¶17; Dkt. 81 at

¶10.] White would begin her search for qualified candidates by looking in Bullhorn, a

recruiting software program containing information about candidates. [Dkt. 61 at

¶20.] Searching within Bullhorn was similar to Google searching. [Dkt. 81 at ¶11.]

White would filter her searches in Bullhorn to reveal candidates who had already

been interviewed and whose resumes had already been edited. [Dkt. 61 at ¶22.] She

then read the job order requirements and compared them with prospective

candidates’ qualifications to see if they matched. [Dkt. 81 at ¶18.] Once she

determined who may be qualified for the job opening based on the position




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specifications, she would call those candidates. [Dkt. 61 at ¶¶18, 23.] It was White’s

responsibility to determine who to call to try to fill a specific job order. [Id. at ¶19.]

        For candidates interested in working with Addison, White conducted one-on-

one, in-person interviews. [Id. at ¶27.] Addison provided her with call scripts for

interviews and a checklist of required information to ask about. [Dkt. 81 at ¶15.]

During interviews, White and the candidate would discuss the candidate’s resume,

the specifics of their job duties, the software they would be working with in the

position, and White would provide any information the candidates were seeking

regarding their employment. [Dkt. 61 at ¶28.]

        White testified that she used her judgment in these interviews to determine

whether the candidate had experience in the finance and accounting industry and

whether they would be good to work with. [Id. at ¶29.] She would also negotiate

candidate’s pay expectations: She would use judgment to determine the lowest

amount the candidate was willing to take for the role, and she testified she’d consult

with her managers on how much Addison should offer. [Id. at ¶¶30-31.]2 Sometimes,

White would use a “negotiating tactic” which involved persuading candidates to

accept a salary below their originally-stated expectations because there was the

opportunity for the contract role to become a full-time, direct hire role. [Id. at ¶32.]

        Before submitting a candidate’s resume for a job order, White would edit their

resume. She used her judgment to do so by confirming the information accurately


2       Neither party noted in its statement of facts that White consulted with her manager
about what hourly rate to offer to candidates. [See Dkt. 47-1 at 25 (93:1–14).] Because this
assertion is material and directly related to the fact asserted—White testified to both facts
in the same section of her deposition—the Court considers it in ruling on Addison’s motion.
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reflected the candidate’s actual experience, removing anything that was “fluffed,” and

adding Addison’s letterhead. [Id. at ¶34.] Then she would send the edited resume

back to the candidate for their approval. [Id. at ¶35.]

        If the candidate approved, White would submit their resume to a job order

through Bullhorn, a process by which the candidate’s resume and White’s summary

of the candidate were sent to a BDM. [Id. at ¶¶36–37.] White testified to using

judgment when writing her candidate summary, emphasizing aspects of the

candidate’s background that matched the job order requirements and made them a

good fit for the job. [Id. at ¶38.] After reviewing these materials, the BDM would

decide whether to submit the candidate to the client. [Id. at ¶39.] White did not make

that decision. [Dkt. 81 at ¶8.]

        White would also “cold call” candidates, not only to find a candidate to fill an

assigned job order but also to find candidates to “fill the pipeline” and use for a future

job order. [Dkt. 61 at ¶24.] White explained she used judgment during these calls to

determine (1) if the worker was interested in a contract role, (2) if they would be a

good candidate for an open position, and (3) if they had the requisite industry

experience for the open position. [Id. at ¶25.] 3 White considered certain candidates

“good” if they had experience, “kn[ew] what they [were] doing,” and had worked in

contract positions before and therefore had realistic expectations. [Id. at ¶26.]

Sometimes, when prospective candidates applied to Addison online, White’s



3       White disputes this, but her citations to Salvo’s deposition do not controvert her
description of her own duties at Addison, even if other Addison employees had different
duties.
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managers would direct her to that profile and instruct her to call them. [Dkt. 81 at

¶11.] For candidates still in her pipeline and not yet placed in a job, White would

inform them when new job orders came in and provide details of the position

including (1) job duties, (2) company information, (3) pay scale, (4) benefits, and (5)

contract length and timing. [Dkt. 61 at ¶40; Dkt. 47-1 at 21 (77:10–19).]

      If a candidate received an interview request from an Addison client, White

would be responsible for (1) informing the candidate of the interview process; (2)

preparing the candidate for the interview; and (3) debriefing the candidate after the

interview. [Id. at ¶41.] White would prepare a candidate for a client interview by

reviewing the information about the client in the job order and relaying that

information to the candidate. [Id. at ¶42.] For example, if the BDM indicated in the

job order that the client had “a very spunky personality” or would “ask … a lot of

detailed questions” during the interview, White would let the candidate know in

advance of their interview. [Id. at ¶43; Dkt. 47-1 at 25 (90:3–91:11).] White would

also coach the candidate on good questions to ask during an interview. [Id. at ¶44.]

      White’s duties as a recruiter continued even after the candidate began working

for the client. [Id. at ¶45.] She would follow-up with candidates on their first day of

work and once a week thereafter to discuss how the job was going “because the

candidate has to like the role as much as the role likes the candidate.” [Id. at ¶46.]

Similarly, if a BDM contacted White conveying negative feedback from the client,

Addison expected White to communicate that to the candidate. [Id. at 48.] White did

not have the authority or ability to hire, fire, or discipline any candidates or



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employees. [Dkt. 81 at ¶¶8, 25.] Generally, Addison recruiters don’t post jobs or make

job postings internally or externally. [Id. at ¶21.]

      Addison had performance metrics for recruiters which were set at the corporate

level; they were monitored and tabulated through Bullhorn which allowed recruiter

activity to be tracked. [Id. at ¶27.] Addison imposed quotas on recruiters like White

for various metrics. [Id. at ¶28.] If they consistently failed to meet their designated

benchmarks, they could be terminated. [Id.] White testified that the required quotas

were aggressive such that she had to work after her normal 8:30 am to 5:30 pm hours.

[Id. at ¶¶30–31.]

      During one of White’s reviews with her supervisor, the supervisor noted that

she wanted White “to utilize the BDM and [her supervisor] more” because her

supervisor “d[idn’t] want her wasting too much time relying on herself when she

hasn’t been in the office … long enough to have all the tools she needs 100 percent of

the time yet.” [Dkt. 61-2 at ¶22; 47-1 at 30 (110:3–18).]

IV.   Legal Standard

      “Summary judgment is proper when the moving party … ‘shows that there is

no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law.’” Bunch v. United States, 880 F.3d 938, 941 (7th Cir. 2018) (quoting

Fed. R. Civ. P. 56(a)). A genuine issue of material fact exists where “the evidence is

such that a reasonable jury could return a verdict for the nonmoving party.” Anderson

v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). The Court “may not make credibility

determinations, weigh the evidence, or decide which inferences to draw from the



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facts; these are jobs for a factfinder.” Johnson v. Rimmer, 936 F.3d 695, 705 (7th Cir.

2019) (quoting Payne v. Pauley, 337 F.3d 767, 770 (7th Cir. 2003)).

       “To succeed on a motion for summary judgment based on an affirmative

defense, the defendant ‘must lay out the elements of the [defense], cite the facts which

[the defendant] believes satisfies these elements, and demonstrate why the record is

so one-sided as to rule out the prospect of a finding in favor of the [plaintiff] on the

[defense].’” Jones v. Lamb, 124 F.4th 463, 467 (7th Cir. 2024) (quoting Hotel 71 Mezz

Lender LLC v. Nat’l Ret. Fund, 778 F.3d 593, 601 (7th Cir. 2015)); Ocean Tomo, LLC

v. Barney, 133 F. Supp. 3d 1107, 1114 (N.D. Ill. 2015) (“Where the party moving for

summary judgment bears the burden of persuasion at trial, … such as a defendant

asserting an affirmative defense, the moving party must establish all the essential

elements of that defense with credible evidence that would entitle it to a directed

verdict if not controverted at trial.” (citation omitted)).

       Put another way, Addison must “establish affirmatively the lack of ‘sufficient

evidence favoring [White] for a jury to return a verdict for that party.’” Rsrv. Supply

Corp. v. Owens-Corning Fiberglas Corp., 971 F.2d 37, 42 (7th Cir. 1992) (quoting

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 249–50 (1986)). Because Addison’s

motion for summary judgment centers on the application of the administrative

exemption in the FLSA and IMWL, which is an affirmative defense, Piscione v. Ernst

& Young, L.L.P., 171 F.3d 527, 533 (7th Cir. 1999), overruled on unrelated grounds

by Hill v. Tangherlini, 724 F.3d 965 (7th Cir. 2013), Roe-Midgett v. CC Servs., Inc.,

512 F.3d 865, 869 (7th Cir. 2008), it bears the ultimate burden at trial, and “the oft-



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quoted rule of Celotex with respect to the obligation of the non-moving party which

bears the burden of proof at trial is inapplicable.” Id. White has no obligation “to rebut

factual propositions on which [Addison] bears the burden of proof and that [it] has

not properly supported in the first instance.” Johnson v. Hix Wrecker Serv., Inc., 651

F.3d 658, 662 (7th Cir. 2011)

V.       Analysis

         A.     Differences Between FLSA and IMWL

         At the outset, the parties disagree over whether the same analysis applies to

the administrative exemption under both the FLSA and IMWL. The IMWL’s

administrative exception explicitly incorporates the FLSA but as it existed “on March

30, 2003.” 820 ILCS 105/4a(2)(E). White and Addison agree that at that time, the

exemptions were coextensive. [Dkt. 64 at 5; Dkt. 82 at 12.] However, the Department

of Labor revised the FLSA in 2004, including changing the wording of the

administrative exemption. That new version applies to White’s case. A threshold

question, then, is whether the revisions were substantive, such that the

administrative exemption is different under both statutes. White argues that it is.

         In Roe-Midgett the Seventh Circuit explained, with respect to the

administrative exemption, the only differences between the pre-2004 version of the

FLSA and the version after the 2004 amendment are “the salary requirement … and

the additional explanation that an administrative employee must exercise discretion

or independent judgment ‘with respect to matters of significance.’” 512 F.3d 865, 870

(7th Cir. 2008). While at first blush that difference could seem substantive, the Court

concluded it was not. It explained that “[w]hile that qualifying phrase was not

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explicitly part of the old test, it was built into the old rule’s definition of ‘discretion

and independent judgment’ found elsewhere in the applicable regulations.” Id. As a

result, the Seventh Circuit concluded that “the new ‘general rule’ is essentially a

simplified restatement of the old [rule].” Id.

      White’s cites to the contrary are distinguishable. Driver v. AppleIllinois, LLC

is uninstructive as it does not discuss the administrative exemption under either the

FLSA or IMWL. 2013 WL 5818899, at *1 n.1 (N.D. Ill. Oct. 29, 2013). The district

court’s opinion in Bigger v. Facebook, Inc. is not persuasive because it does not discuss

Roe-Midgett. 375 F. Supp. 3d 1007, 1020 (N.D. Ill. 2019). Contrary to White’s

insinuation [Dkt. 64 at 6], the Seventh Circuit did not affirm the district court’s

holding in Bigger with respect to differences between the FLSA and IMWL’s

administrative exemptions; the IMWL claim was not appealed at all. Bigger v.

Facebook, Inc., 947 F.3d 1043, 1047 n.2 (7th Cir. 2020).

      Because Roe-Midgett is clear that the FLSA’s administrative exemption was

substantively unchanged by the 2004 amendment, the same administrative

exemption analysis applies to both White’s FLSA and IMWL claims. See also Urnikis-

Negro v. Am. Fam. Prop. Servs., Inc., 2008 WL 5539823, at *6 (N.D. Ill. July 21, 2008),

aff’d sub nom. Urnikis-Negro v. Am. Fam. Prop. Servs., 616 F.3d 665 (7th Cir. 2010)

(“The August 2004 version of the regulation does not substantively alter the former

test.”); Markle v. Drummond Advisors, LLC, 2022 WL 4604192, at *3 (N.D. Ill. Sept.

30, 2022) (“The IMWL, Illinois’ state-law counterpart to the FLSA, contains the same

requirements with respect to overtime and incorporates the FLSA standards



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regarding exemptions.”); Marski v. Courier Express One, Inc., 2021 WL 4459512, at

*13 (N.D. Ill. Sept. 29, 2021) (With respect to claims arising out of actions between

2015-2018 or later the court concluded that “[b]ecause the IMWL contains the same

requirements with respect to overtime and incorporates the FLSA standards, the

Court considers together Plaintiff’s FLSA and IMWL claims for unpaid overtime.”)

For efficiency’s sake, then, the Court will discuss only the FLSA exemption.

      B.     Administrative Exemption

      The FLSA requires payment of overtime for hours worked in excess of 40 per

week unless an exemption applies. 29 U.S.C. §§ 207(a)(1), 213(a)(1). In this case, the

relevant exemption applies to bona fide executive or administrative employees. Id.

§ 213(a)(1); Verkuilen v. MediaBank, LLC, 646 F.3d 979, 980 (7th Cir. 2011).

      Three factors must be met. 29 C.F.R. § 541.200(a). First, the employee must

receive a minimum salary of $684 per week. Id. Second, the employee’s “primary

duty” must be “the performance of office or non-manual work directly related to the

management or general business operations of the employer or the employer’s

customers.” Id. Finally, the employee’s “primary duty” must “include[] the exercise of

discretion and independent judgment with respect to matters of significance.” Id. In

interpreting the exemption, “the regulations must be given a fair, not a narrow,

reading.” Markle v. Drummond Advisors, LLC, 2022 WL 4604192, at *3 (N.D. Ill.

Sept. 30, 2022) (citing Bigger, 947 F.3d at 1052.)

      White and Addison agree the first factor is met. The Court will analyze the

remaining two, over which there is considerable disagreement, in turn.



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             1.     Primary Duty is Administrative

      As noted, “[t]o qualify for the administrative exemption, an employee’s primary

duty must be the performance of work directly related to the management or general

business operations of the employer or the employer’s customers.” 29 C.F.R.

§ 541.201(a). “The term ‘primary duty’ means the principal, main, major, or most

important duty that the employee performs.” § 541.700(a). Although “[t]he amount of

time spent performing exempt work can be a useful guide in determining whether

exempt work is the primary duty of an employee” and “employees who spend more

than 50 percent of their time performing exempt work will generally satisfy the

primary duty requirement,” it is not the only factor. § 541.700(b). The test may still

be met by employees who “spent more than 50 percent of their time performing

exempt work.” Id.

      For the exemption to apply, the “employee must perform work directly related

to assisting with the running or servicing of the business, as distinguished for

example, from working on a manufacturing production line or selling a product in a

retail or service establishment.” § 541.201(a). The distinction between assisting with

running the business and working on the manufacturing line is “often referred to as

the   administrative/production     dichotomy”    and    “derives   from   traditional

manufacturing and sales settings.” Markle, 2022 WL 4604192, at *5. “[A]n employee

who works on the manufacturing line or who sells an employer’s products would not

qualify as administratively exempt.” Id. While the regulations provide a

nonexhaustive list of “functional areas in which this kind of work is often performed,”

Bigger, 947 F.3d at 1053; § 541.201(b), courts must consider “all the facts in a
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particular case with the major emphasis on the character of the employee’s job as a

whole,” § 541.700(a).

        To “decide as a matter of law that an employee customarily and regularly

performed     duties    ‘directly   related   to   management    or   general   business

operations … [the Court must have] … a clear factual picture of those duties,

including how they relate to the employer’s and customers’ enterprises.” Bigger, 947

F.3d at 1054. Without those details, it would be impossible to determine whether the

worker’s tasks are administrative or more akin to working on a production line.

        Addison’s business offers staffing and recruiting services. [Dkt. 61 at ¶1.] With

respect to the vertical within which White worked, Addison was in the business of

recruiting finance and accounting professionals to work on a contract basis for its

clients. [Id. at ¶¶2, 6–7.] When Addison received a job order from one of its clients—

that is, an assignment to fill an open position—it recruited individuals to fill the role.

[Id. at ¶¶8–9.] Because this vertical dealt with contract placements, candidates

weren’t normally hired directly by Addison’s clients; instead, after Addison’s client

approved of the candidate, Addison would hire the candidate and pay them to work

for the client. [Id. at ¶¶7, 12–13, 30–31.] Although the parties’ statement of facts

could be clearer about how Addison profits from this arrangement, it is evident that

Addison generates revenue by paying the worker less than Addison’s client pays to

fill the role–that is the “spread” between “the candidate’s bill rate and the pay rate.”

[Id.]




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      Whether White’s “work directly related to” these operations or the operations

of Addison’s clients, § 541.201(a), “depends on the precise nature of [her] work.”

Bigger, 947 F.3d at 1053. Courts must look at “the central revenue generator … and

the employee’s involvement in it.” Id.

      While White and Addison disagree about how much discretion and judgment

she exercised in the performance of her duties, by and large the parties agree on the

types of tasks she performed. C.f. Tamas v. Family Video Movie Club, Inc., 2013 WL

1286693, at *4 (N.D. Ill. Mar. 28, 2013) (“If there is a genuine dispute of fact as to the

nature and scope of [plaintiff’s] primary duty, summary judgment must be denied.”).

White worked to fill open job orders from Addison’s clients by reviewing the job order

and necessary qualifications, contacting candidates she believed may be qualified,

assessing their interest and qualifications, editing their resume, submitting their

resume to the BDM for consideration, prepping them for a job interview with the

client company (if they were offered one), negotiating pay, and, if the candidate was

hired and placed with an Addison client, White would periodically check in to see how

things were going. [Dkt. 61 at ¶¶8, 10, 17–19, 25, 28–32, 34, 36–37, 41, 43, 46.]

      Even though White didn’t have the authority to hire anyone or make hiring

recommendations directly to Addison’s clients, her work supported Addison’s core

business with respect to contract placements performed by her Vertical. Indeed, it is

hard to imagine tasks more directly related to running Addison’s business.

§ 541.201(a).




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      White was the person seeking out and identifying prospective candidates,

assessing their qualifications and aptitude for working on a contract basis for

Addison, preparing their materials for submission, and preparing candidates for

interviews. [Dkt. 61 at ¶16.] Placing candidates with clients is how Addison makes

money, and White’s tasks directly supported that effort. See Quintiliani v. Concentric

Healthcare Sols., LLC, 944 F. Supp. 2d 738, 746 (D. Ariz. 2013), rev’d in other part,

672 F. App’x 643 (9th Cir. 2016) (finding that the work of a staffing coordinator at

Concentric, a temporary staffing firm, was “directly related” because they helped

locate and place “temporary medical professionals at client companies” and those

medical professionals were “the ‘product’ of Concentric’s business”).

      This isn’t a close question like Schaefer-LaRose v. Eli Lilly & Co., 679 F.3d 560,

573–75 (7th Cir. 2012) where the court had to split hairs to determine if plaintiffs’

sales role went to the core of the defendant’s business or was more akin to “a salesman

for Best Buy or a technician sitting at a phone bank fielding random calls from [their]

employer’s customers,” Verkuilen, 646 F.3d at 982; c.f. 29 C.F.R. § 541.201(a)

(explaining the administrative exemption does not apply to individuals whose job is

to “sell [the] product”). The tasks White performed were indispensable and directly

related to how Addison generated revenue.

      White argues that her duties were largely entry-level, clerical tasks subject to

oversight and dictated by Addison’s templates and procedures; and she also lacked

authority to negotiate with Addison’s clients. [Dkt. 64 at 9.] These points are better

directed at the third prong of the administrative exemption test, concerning exercise



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of discretion and independent judgment. Regardless of how much supervision and

control Addison exercised over White’s tasks, White has not meaningfully disputed

that her tasks supported the core of Addison’s business. See Quintiliani, 944 F. Supp.

2d at 746 (differing responsibilities of staffing coordinators at temporary placement

firms was “a distinction without a difference” because the employee’s role in helping

to place “temporary professionals” with clients was directly related to “the ‘product’

of Concentric’s business.”) White’s work, including helping to establish a pipeline of

interested and qualified candidates and suggesting them to fill specific job openings

with Addison’s clients [see dkt. 61 at ¶24], was not akin to production-line or retail

work. Schaefer-LaRose, 679 F.3d at 574. It directly supported the FAC Vertical’s

“central revenue generator.” Bigger, 947 F.3d at 1053.

      2.     Primary Duty includes Exercise of Discretion and Independent
             Judgment

      The final requirement of the administrative exemption is that the worker’s

“primary duty includes the exercise of discretion and independent judgment with

respect to matters of significance.” 29 C.F.R. § 541.200(a)(3). “In general, the exercise

of discretion and independent judgment involves the comparison and the evaluation

of possible courses of conduct, and acting or making a decision after the various

possibilities have been considered.” Id. § 541.202(a). While this “implies that the

employee has authority to make an independent choice, free from immediate direction

or supervision,” employees can qualify for the administrative exemption “even if their

decisions or recommendations are reviewed at a higher level.” Id. § 541.202(c).




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      Use of “independent judgment is not foreclosed by the fact that an employee’s

work is performed in accordance with strict guidelines.” Roe-Midgett, 512 F.3d at 875.

Still, the “exercise of discretion and independent judgment ‘must be more than the

use of skill in applying well-established techniques, procedures or specific

standards.’” Bigger, 947 F.3d at 1055 (quoting § 541.202(e)). And work that is

“repetitive, recurrent or routine” does not qualify. § 541.202(e).

      “The term ‘matters of significance’ refers to the level of importance or

consequences of the work performed.” Id. § 541.202(a). The regulation provides a

nonexhaustive list of factors to consider such as “whether the employee has authority

to formulate, affect, interpret, or implement management policies or operating

practices; whether the employee carries out major assignments in conducting the

operations of the business; [and] … whether the employee has authority to commit

the employer in matters that have significant financial impact.” Id. § 541.202(b).

      The regulations set up a dichotomy between human resource managers and

personnel clerks. The former generally qualifies for the exemption; the latter does

not. That is because, unlike human resource managers who “formulate, interpret or

implement employment policies,” clerks “‘screen’ applicants to obtain data regarding

their minimum qualifications and fitness for employment.” § 541.203 (e).

      The Court’s task is to determine on which side of the line White falls. Addison

points to several out-of-circuit cases to support that White exercised discretion and

independent judgment on matters of significance.




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      The first is Andrade v. Aerotek, 700 F. Supp. 2d 738, 747 (D. Md. 2010). Like

this case, Andrade involved a recruiter who worked for an international staffing

company. The court explained, relying on various Department of Labor opinion

letters, that whether a recruiter is an exempt employee “depends on the amount of

selectivity exercised in matching persons seeking employment with the requirements

of the job opening and in deciding which employee to send to any particular employer

for consideration, as opposed to referring to the employer several prospects who

generally meet the qualifications for the job.” Id. (citation and internal quotation

marks omitted). The Court concluded the plaintiff’s job was exempt because she “did

much more than simply screen applicants based on minimum qualifications … she

developed her own recruiting strategies” and, because she knew “the clients’

personality,” she would go beyond screening for minimum qualifications, instead

often recommending candidates “whose personalities made them a good fit, even

when their qualifications were not as impressive as others.” Id. She also “sourced and

interviewed candidates completely on her own, free from scrutiny” and, once contract

employees were hired, she managed them, “assessed and investigated … problems,

and counseled and disciplined contractors” without “the direct scrutiny of a

supervisor.” Id. at 748.

      True, both White and the plaintiff in Andrade lacked the discretion to fire

candidates. [Dkt. 82 at 7.] They also both “compared contractors’ skills to the

applicable job descriptions” and “interviewed candidates.” [Id.]; Andrade, 700 F.

Supp. 2d 738 at 747–48. But the similarities end there. Unlike the plaintiff in



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Andrade, White lacked the authority to discipline anyone. [Dkt. 81 at ¶¶8, 25.] There

is no evidence White interacted with Addison clients such she could draw her own

conclusions about their “personalities” and needs. As a result, when she conveyed

information about the client to the candidate, she was limited to the information the

BDM gave her. [Dkt. 61 at ¶¶42–43.] While the plaintiff in Andrade was able to

exercise independent judgment in this regard, White had little discretion—she was

only in the position to convey the information she received.

      Also unlike the plaintiff in Andrade who worked “free from scrutiny,” White’s

daily tasks were organized and set by her supervisor. [Dkt. 81 at ¶¶10, 15, 24, 27–

28.] She had meetings with her supervisors twice a day during which she was given

assignments including which open positions to work on filling. [Dkt. 61-2 at ¶¶6–7;

Dkt. 47-1 at 14, 19.] Her supervisors tracked her performance metrics to ensure she

met her quotas. [Dkt. 81 at ¶¶27–28.] Last, there is no evidence White developed her

own “recruiting strategy.” To the contrary, she was directed to use numerous

templates and outlines for her communications, and rather than using outside job

boards, her candidate searches were limited to Bullhorn. [Id. at ¶¶ 14–16; dkt. 61-2

at ¶9.] Because of these significant differences, Andrade is not persuasive.

      Addison also cites Drake, 2016 WL 80672, which involved a recruiter working

for an international staffing company. Id. at *1. The court’s analysis was limited.

Drake conceded to being exempt under the FLSA (albeit not under the Wisconsin

analogue), and the court readily concluded that his work qualified as exempt. Id. at

*6. While the general tasks Drake performed are similar to White (searching for



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suitable applicants, assessing them for particular jobs and clients, preparing them

for interviews, etc.) the opinion does not discuss how much autonomy Drake had

when performing these tasks. Given that point is in significant contention here,

Drake is of limited persuasiveness. 4

        In contrast, the Sixth Circuit’s opinion in Perry v. Randstad General Partner

(US) LLC, 876 F.3d 191 (6th Cir. 2017) provides helpful guidance. The court reviewed,

and affirmed in significant part, the district court’s grant of summary judgment to

the defendant staffing company. Id. at 194.

        The court synthetized two guiding principles. First, “matching candidates to

clients based on fit—meaning subjective criteria such as the match between a

candidate’s personality and a client’s corporate culture—as opposed to objective

criteria such as years of experience or test scores, involves meaningful discretion and

independent judgment.” Id. at 208. Second, a worker uses discretion and independent

judgment where they “independently draft[] job descriptions, decid[e] which

recruitment tools to use, negotiat[e] how much to pay the worker and how much to

bill the client … counsel[] workers and otherwise deal[] with unsuccessful

placements.” Id. Where the plaintiff’s job duties with respect to recruitment hit both

of those criteria, the fact that they were nonetheless subject to close scrutiny by




4      The same goes for Addison’s citation to Hudkins v. Maxim Healthcare Servs., Inc., 39
F. Supp. 2d 1349, 1350 (M.D. Fla. 1998), aff’d sub nom. Hudkins v. Maxim Healthcare Servs.,
176 F.3d 493 (11th Cir. 1999). Putting aside the distinct procedural posture, the recruiter
performed significantly different tasks than White, including “approving higher rates of pay
for nurses when the occasion demanded it in order to ensure the placement of the most
capable nurses with the Defendant’s client” and counseling, disciplining and participating in
the termination of nurses who did not provide good service to clients. Id.
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supervisors and had never “hired or fired a worker on [their] own authority” did not

render them ineligible for the administrative exemption. Id. at 209.

          Considering White’s job responsibilities as a whole, material issues of fact

remain as to whether her primary job duties involved the exercise of discretion and

judgment with respect to matters of significance. Addison identifies a handful of tasks

it believes qualify including, determining whether a person was interested in a

contract role, would be a good fit for a certain job and had the requisite skills and

experience, and then negotiating with them about their salary expectations. [Dkt. 48

at 14.]

          While White testified to using her judgment to perform these tasks, [Dkt. 61

at ¶24], there is evidence that she applied “well-established techniques” and

“standards” and that the tasks were repetitive and routine. Bigger, 947 F.3d at 1055;

§ 541.202(e). For example, White explained that a candidate was a “good fit” if they

had experience, “kn[ew] what they [were] doing,” and had worked in contract

positions before and therefore had realistic expectations. [Dkt. 61 at ¶26.] She would

also compare job order requirements against the candidate’s qualifications to see if

there was a match. [Dkt. 81 at ¶18.]

          White elaborated little on any use of discretion to assess candidate’s soft skills

or personality. See Perry, 876 F.3d at 208 (holding that matching “a candidate’s

personality [with] a client’s corporate culture” is evidence of using discretion and

judgment). It is not clear from the record that White’s assessment of a candidate’s

qualifications was subjective enough to qualify her for the exemption. Because there



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is no evidence White had first-hand contact with clients, to the extent she had the

ability to assess fit, she was limited to working from the information provided by the

BDM. [Dkt. 61 at ¶¶42–43.]

      While White made “an independent choice” about which candidates to

recommend to a BDM, Addison erected guardrails around that decision, in the form

of templates, checklists, and processes that limited White’s exercise of discretion. In

addition, during White’s 2020 performance review her supervisor advised her to rely

more on her supervisors rather than “relying on herself.” [Dkt. 61-2 at ¶22; 47-1 at

30 (110:3–18)]. This fact cuts both ways. As Addison notes, it suggests both that White

worked independently in some respects and that Addison preferred for her not to

because she was too junior. [Dkt. 82 at 11–12.] Because the performance review is

vague about what tasks White performed without sufficient oversight, though, this

fact does not clearly support either party.

      As for negotiation, White testified to using her judgment to determine the

lowest salary a candidate was willing to take, and sometimes using a negotiating

tactic to persuade a candidate to accept less. [Dkt. 61 at ¶¶30–32.] However, not

included in the parties’ statement of facts is White’s admission that she would consult

with her managers to determine how much they should offer a candidate. [Dkt 47-1

at 25 (93:1–14)]. While a worker may still exercise discretion despite final review of

their decision, the fact that White received guidance from her managers with respect

to salary negotiation is evidence that she lacked “the authority or power to make an

independent choice.” Roe-Midgett, 512 F.3d at 873 (citing § 541.202(c)). Putting aside



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White’s use of the word “judgment,” it is unclear what she did with respect to salary

negotiation that required judgment. Together these facts cut against the conclusion

that White exercised independent judgment and discretion.

      Even if White exercised discretion and judgment in some tasks, for the

administrative exemption to apply she must have used discretion and judgment on

“matters of significance” to Addison. Looking to the regulation for guidance, it is

unclear that White’s tasks fit the bill. For example, there is no evidence that she had

the “authority to formulate, affect, interpret, or implement management policies or

operating practices.” § 541.202(b). It is also clear from the record that White lacked

the “authority to waive or deviate from established policies and procedures without

prior approval.” Id. Aside from general expressions that White “ma[de] important

recommendations,” Addison does not explain how the facts marshalled support the

conclusion that White’s discretionary tasks concerned matters of significance, as

required by the regulation. § 541.202(a). Addison also fails to support the necessary

assertion that these tasks were her primary duties. § 541.700(a). The record is silent

as to how much time she spent on these tasks as opposed to other concededly

nonexempt tasks such as data entry. [Dkt. 82 at 5.]

       Given that it is Addison’s burden to prove that every element of the

administrative exemption applies to White’s work, it falls short. At bottom, the record

is not “so one-sided as to rule out of prospect of finding in favor of [White] on the

[administrative exemption defense].” Jones, 124 F.4th at 467.




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VI.   Conclusion

      For the reasons stated above, Addison’s motion for summary judgment is

denied. [Dkt. 46.]



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Date: February 6, 2025

                                     __________________________________________
                                     Lindsay C. Jenkins
                                     United States District Judge




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